Case 08-13141-BLS Doc 6414-2 Filed 11/11/10 Pagei1of5

PROPOSED ORDER

698.001-W0010931
Case 08-13141-BLS Doc 6414-2 Filed 11/11/10 Page 2of5

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al., Case No. 08-13141 (KJC)
Debtors. Jointly Administered
Related to Docket No.:

ORDER GRANTING MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS FOR ENTRY OF AN ORDER GRANTING LEAVE, STANDING
AND AUTHORITY TO COMMENCE, PROSECUTE, SETTLE AND RECOVER
CERTAIN CAUSES OF ACTION ON BEHALF OF THE DEBTORS'
ESTATES ARISING UNDER AND PURSUANT TO 11 U.S.C. §§ 547 AND 350

Upon consideration of the Motion of the Official Committee of Unsecured
Creditors (the "Committee") for Entry of an Order Granting Leave, Standing and Authority to
Commence, Prosecute, Settle and Recover Certain Causes of Action Belonging to the Debtors'
Estates Arising Under and Pursuant to 11 U.S.C. §§ 547 and 550 (the "Preference Standing
Motion")'; and notice of the Preference Standing Motion having been due and proper under the
circumstances; and after due deliberation, and good and sufficient cause appearing therefor; it is
hereby

ORDERED, that the Preference Standing Motion is GRANTED; and it is further

ORDERED, that any objections to the Preference Standing Motion or the relief
requested therein that have not been withdrawn, waived or settled as announced to the Court at
the hearing on the approval of the Preference Standing Motion, and all reservation of rights

included therein, are hereby denied and overruled with prejudice; and it is further

' Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the

Preference Standing Motion.

698.001-W0010931
Case 08-13141-BLS Doc 6414-2 Filed 11/11/10 Page 3of5

ORDERED, that pursuant to sections 105, 1103 and 1109 of the Bankruptcy
Code, the Committee is granted leave, standing and authority to commence and prosecute the
Preference Actions of the Debtors' estates set forth in the Preference Standing Motion with any
and all recoveries to be for the benefit of the Debtors' estates; and it is further

ORDERED, that pursuant to sections 105, 1103 and 1109 of the Bankruptcy
Code, the actions previously brought in the LBO Complaints that are more properly categorized
as Preference Actions hereby are confirmed to be brought with standing and may be commenced
(if not already commenced) and prosecuted as Preference Actions, and it is further

ORDERED, that the Committee shall commence the Preference Actions by filing
its complaints no later than December 7, 2010; and it is further

ORDERED, that except as provided in the Joint Plan of Reorganization for
Tribune Company and Its Subsidiaries Proposed by the Debtors, the Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and
JPMorgan Chase Bank, N.A. filed on October 22, 2010 (the "Settlement Plan"), neither the
Debtors nor the Committee shall settle, subject to the Court's approval, any of the Preference
Actions without the other's consent unless and until the earliest to occur of the following: (i) the
Committee and/or the Debtors withdraw their support for the Settlement Plan; (ii) the Court
declines to confirm the Settlement Plan, or (iii) April 1, 2011 (each a "Termination Event"). If
a Termination Event occurs, either the Debtors or the Committee shall have the right, subject to
the Court's approval, after notice and an opportunity to be heard, to settle claims that the
Committee has been authorized to pursue, and the Committee shall have the right to file a motion
seeking entry of a court order granting it the exclusive right to settle such claims. The rights of

any party to object to any such settlement or motion are expressly preserved; and it is further

CPAM: 3285111.7
Case 08-13141-BLS Doc 6414-2 Filed 11/11/10 Page4of5

ORDERED, that after they have been filed and served, the Preference Actions
shall be deemed stayed, except as otherwise set forth in this Order (the "Stay"), until a
Termination Event occurs, provided that if the Termination Event is the withdrawal of support
for the Settlement Plan by the Debtors or the Committee, the Committee shall have the right to
extend the Stay by, within ten days of such withdrawal of support, filing and serving a notice that
the Stay shall continue. All applicable deadlines, other than those applicable to the discovery
permitted by this Order, are suspended during the period of the Stay. All motion practice (other
than motions respecting confidentiality, motions to lift, extend or otherwise respecting the Stay,
motions with respect to the discovery permitted by this Order, motions to intervene and motions
regarding settlements consistent with the terms of this Order) and contested hearings or trials are
prohibited. Notwithstanding the foregoing, during the period this Stay is in effect, the
Committee may (a) consistent with governing rules, amend the complaints in the Preference
Actions, (b) complete service of the complaints in the Preference Actions, and (c) take such
steps, including immediately pursuing discovery, as are necessary for the purpose of preventing
applicable statutes of limitations or other time related defenses from barring any of the claims
asserted in the Preference Actions; and it is further

ORDERED, that a copy of this Order shall be entered on the docket in each of the
Preference Actions when filed; and it is further

ORDERED, that during the pendency of the Stay, no defendant to the Preference
Actions shall answer or otherwise respond to the Preference Actions. All the rights of such
defendants, including their right to move to dismiss the Preference Actions following expiration

of the Stay, shall be fully preserved; and it is further

CPAM: 3285111.7
Case 08-13141-BLS Doc 6414-2 Filed 11/11/10 Page5of5

ORDERED, that the Stay may be lifted or extended by the Court for any cause
deemed sufficient by the Court after notice and a hearing with an opportunity for all interested

parties to be heard.

Dated: November _, 2010

The Honorable Kevin J. Carey
Chief United States Bankruptcy Judge

CPAM: 3285111.7
